Case 1:12-cr-00033-JLK Document 1879 Filed 06/12/18 USDC Colorado Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Senior Judge John L. Kane


Date: June 12, 2018                                   Deputy Clerk: Bernique Abiakam
                                                      Court Reporter: Terri Lindblom
Interpreters: Hasmik Jorgensen
              Yuliya Fedasenka
              Muhitdin Ahunhodjaev
              Sanjar Babadjanov
              Darius Suziedelis

Criminal Action No.:12-cr-00033-JLK-1

UNITED STATES OF AMERICA,                             Gregory A. Holloway
                                                      Julia K. Martinez

      Plaintiff,

v.

1.    JAMSHID MUHTOROV,                               Kathryn J. Stimson
                                                      Brian R. Leedy
                                                      Warren R. Williamson

      Defendant.


                               COURTROOM MINUTES

Jury Trial Day 14

9:13 a.m.     Court in session.

Court calls case. Appearances of counsel. Defendant present, in custody. Also
present, Special Agent Ken Harris.

Jury not present.

Interpreters sworn.

Discussion regarding interpreter.

Discussion regarding “Juror Question 2".

9:15 a.m.     Jury present.

The Court advises the Jury regarding “Juror Question 2" and the remaining witness and
trial schedule.

Lithuanian speaking interpreter, Darius Suziedelis, sworn.
Case 1:12-cr-00033-JLK Document 1879 Filed 06/12/18 USDC Colorado Page 2 of 4




12-cr-00033-JLK-1
Jury Trial Day 14
June 12, 2018


9:23 a.m.           Defendant’s witness, Saulius Tamavicius, called and sworn.
                    Direct examination begins by Ms. Stimson.

9:25 a.m.           Cross examination begins by Mr. Holloway.


9:29 a.m.           Witness and Lithuanian interpreter, excused.

9:30 a.m.           Defendant’s witness, Steve Mark Swerdlow, called and sworn.
                    Direct examination begins by Mr. Williamson.

Defendant’s witness, Steve Swerdlow, tendered as an expert in the area of political
history and human rights history of the country of Uzbekistan.

No objection.

Tender ACCEPTED.

9:48 a.m.           Continued direct examination by Mr. Williamson.

10:41 a.m.          Court in recess.

11:04 a.m.          Court in session.

Jury present.

Mr. Holloway offers the redacted version of Government’s Exhibit 451B

Defense counsel agrees and has no objection.

The redacted version of Government’s Exhibit 451B is admitted.

11:05 a.m.          Cross examination begins by Mr. Holloway.

No redirect examination.

11:19 a.m.          Jury Instruction 16A read by the Court.

11:20 a.m.          Witness excused.

Defense rests.

The Court the Jury regarding remaining trial schedule.

The Court admonishes the Jury regarding any discussion and/or independent
research of the case.

11:22 a.m.          Jury excused.


                                                  2
Case 1:12-cr-00033-JLK Document 1879 Filed 06/12/18 USDC Colorado Page 3 of 4




12-cr-00033-JLK-1
Jury Trial Day 14
June 12, 2018


Renewed Rule 29 Motion stated by Mr. Leedy.

ORDERED: Defendant’s Renewed Oral Motion for Judgment of Acquittal is
         DENIED.

Comments by the Court regarding exhibits.

ORDERED: Immediately following today’s proceedings, counsel shall meet with
         court staff to confirm the accuracy of all admitted/stipulated exhibits
         being submitted to the Jury for deliberations.

ORDERED: Trial resumes tomorrow at 9:00 a.m. Counsel shall be ready by 8:45
         a.m. to make a final record as to exhibits and jury instructions.

ORDERED: Defendant is REMANDED to the custody of the United States Marshal for
         the District of Colorado.

11:25 a.m. Court in recess.
Trial continued.
Time in court - 1 hours, 49 minutes.

Immediately following today’s proceedings, counsel met with court staff - (approx. 11:30
a.m. - 2:00 p.m.) to confirm all exhibits, including content. The following exhibits were
confirmed as admitted/stipulated (all redacted exhibits were also confirmed) and will
accompany the Jury once they are excused to begin their deliberations:

Government’s Exhibits -    1, 2, 9, 9A, 10, 11, 11A, 12A, 14, 41, 44, 45, 50, 51, 52, 53,
                           70B, 71, 71A, 71B, 71C, 71D, 73, 73B, 74, 74B, 75, 76, 96,
                           97B, 100, 100A, 101, 101A, 102, 102A, 103, 103A, 104,
                           104A, 105, 105A, 106, 106A, 107, 107A, 108, 108A, 109,
                           109A, 110, 110A, 111, 111A, 112,112A, 113, 113A, 114,
                           114A, 116, 116A, 116B, 118, 118A, 119, 119A, 120, 120A,
                           121, 121A, 122, 122A, 123, 123A, 124, 124A, 125, 125A,
                           127, 127A, 128, 128A, 129, 129A, 130, 130A, 131, 131A,
                           132, 132A, 133, 133A, 138, 138A, 139, 139A, 141, 141A,
                           145, 145A, 146, 146A, 149, 149A, 150, 150A, 151, 151A,
                           152, 152A, 153, 153A, 155, 155A, 156, 156A, 157, 157A,
                           158, 158A, 159, 159A, 160, 160A, 161, 161A, 162, 162A,
                           163, 163A, 164, 164A, 165, 165A, 166, 166A, 167, 167A,
                           168, 168A, 169, 169A, 170, 170A, 200, 201, 202, 203, 205,
                           206, 207, 214, 215, 216, 220, 221, 222, 223, 224, 225, 226,
                           227, 228, 229, 230, 231, 232, 233, 234, 234A, 234B, 235,
                           236, 237, 238, 239, 240, 241, 242, 243, 244, 245, 246, 247,
                           248, 249, 250, 251, 252, 253, 254, 255, 256, 257, 258, 259,
                           260, 270, 272, 274, 275, 276, 282, 283A, 283B, 283C, 283D,
                           283E, 283F, 283G, 299, 305A, 306A, 307, 307A, 307B,
                           307C, 308, 309, 311, 312, 312A, 332, 332A1, 333, 333A,
                           335, 335A, 401, 402, 403, 404, 405, 406, 407, 408, 409,


                                            3
Case 1:12-cr-00033-JLK Document 1879 Filed 06/12/18 USDC Colorado Page 4 of 4




12-cr-00033-JLK-1
Jury Trial Day 14
June 12, 2018


                         410, 411, 412, 413, 414, 424, 426, 427, 434, 435, 450B.
                         450C, 450D, 451, 451B, 451C, 451D, 451E, 451F, 451G,
                         474, 475, 476, 478, 479, 480, 481, 484, 485, 500, 512, 515,
                         516, 530, 530A, 531, 531A, 531B, 531C, 531D, 531E, 531F,
                         535, 536, 540, 541, and 542.


Defendant’s Exhibits -   600, 601, 062, 603, 604, 605, 606, 606A, 607, 607A, 608,
                         608A, 609, 609A, 610, 610A, 611, 611A, 612, 612A, 613,
                         613A, 614, 614A, 615, 615A, 616, 616A, 617, 617A, 618,
                         618A, 619, 619A, 620, 620A, 621, 621A, 622, 622A, 623,
                         623A, 624, 624A, 625, 625A, 626, 626A, 627, 627A, 628,
                         628A, 629, 629A, 630, 630A, 631, 631A, 632, 632A, 633,
                         633A, 634, 634A, 635, 635A, 636, 636A, 637, 637A, 638,
                         638A, 639, 639A, 640, 640A, 641, 641A, 642, 642A, 643,
                         643A, 644, 644A, 645, 645A, 646, 646A, 647, 647A, 648,
                         648A, 649, 649A, 650, 650A, 651, 651A, 652, 652A, 653,
                         653A, 654, 654A, 655, 655A, 656, 656A, 657, 657A, 658,
                         658A, 659, 659A, 660, 660A, 661, 661A, 662, 662A, 663,
                         663A, 664, 664A, 665, 665A, 666, 666A, 667, 667A, 668,
                         669, 670, 671, 672, 673, 674, 675, 676, 677, 678, 679, 680,
                         681, 682, 683, 684, 685, 686, 687, 688, 689, 689A, 690,
                         690A, 692A, 697A, 702A, 703A, 707A, 709A, 713A, 714A,
                         716A, 718, 720, and 735.




                                         4
